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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND


     DAMIAN MEDICI,

                    Plaintiff,

     v.
                                                                     C.A. NO. 17-cv-00265-M-PAS
     LIFESPAN CORPORATION,
     RHODE ISLAND HOSPITAL, and
     MICHAEL SUSIENKA,

                    Defendants.


                    PLAINTIFF’S OPPOSITION TO DEFENDANTS’
          MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION

           Plaintiff Damian Medici (“Medici”) opposes the Defendants’ Motion to Dismiss for Lack

 of Subject Matter Jurisdiction (the “Motion”), which is premised on Medici conceding that there

 is insufficient evidence on his claim under the Stored Communications Act, 18 U.S.C. § 2701 et

 seq. Opposition (ECF No. 79), at p. 42.

                OVERVIEW OF PERTINENT ALLEGATIONS IN COMPLAINT

           Even aside from the claim under the Stored Communications Act, 18 U.S.C. § 2701 et

 seq., Medici’s Complaint amply provides a basis for federal question jurisdiction.1

           In his Complaint, Medici details the various requirements under federal law for research

 misconduct proceedings. Second Amended Complaint (“Complaint”), ECF No. 58, ¶¶ 18-29.

 The Complaint describes how, under federal law, any institution receiving federal research funds

 must comply with HHS’s regulations on research misconduct, entitled the “Public Health


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  Medici’s original Complaint (ECF No. 1), and First Amended Complaint (ECF No. 51), and the Second Amended
 Complaint (ECF No. 58) are virtually identical, aside from preliminary allegations concerning personal jurisdiction
 and changes made in light of the voluntary dismissal of Dr. Peter Snyder and Dr. John Murphy as defendants,
 Because of this, references to the “Complaint” are to the Second Amended Complaint.
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 Services Policies on Research Misconduct” and set forth in 42 CFR Part 93. Id. at ¶ 19. The

 Complaint then sets forth various specific requirements under the federal regulations that

 institutions such as Lifespan/RIH must comply with, including issuing their own research

 misconduct policy that complies with the federal regulations. Id. at ¶¶ 19-29. It further alleges

 that the purpose of Lifespan’s research misconduct policy was to comply with federal regulatory

 requirements. Id., at ¶¶ 30-32.

        The Complaint further alleges that the Defendants violated “both the Regulations and the

 Policy in numerous ways in conducting the research misconduct proceedings against Dr.

 Medici.” Id. at ¶ 40. It then goes on to detail the numerous specific breaches of both the

 Regulations and the Policy. Id. at ¶¶ 41-167. In doing so, the Complaint cites to specific sections

 of the Regulations numerous times. See Id. at ¶¶ 46, 51, 63, 66, 67, 76, 79, 81, 83, 85, 86, 87,

 109, 117, 118, 120, 130, 133, and 136.

        Count I of the Complaint sets forth a claim for breach of contract and breach of the

 implied covenant of good faith and fair dealing. Id. at ¶¶ 168-172. It asserts that Medici entered

 into an agreement with Lifespan/RIH and that such agreement “incorporates, or otherwise

 includes, the terms of the Policy and the Regulations.” Id. at ¶ 169. It further asserts that due to

 Medici being retained as a research scientist and, “as the Agreement provided that [Medici]

 could be terminated for cause if found to have engaged in ‘professional misconduct,’ the

 Agreement contemplated that any investigation into possible research misconduct would be

 governed by both the Policy and the Regulations and, in effect, incorporated the terms of the

 Regulations and the Policy.” Id. The Complaint further asserts that not only did Lifespan/RIH

 agree to comply with the Policy when it hired Medici as a research scientist, the Agreement

 provided that “its terms are to be modified to comply with any regulations such that, to the extent




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 the Policy does not provide what is mandated by the Regulations, the Policy is reformed to so

 comply with the Regulations.” Id. Count I further asserts that the implied covenant of good faith

 and fair dealing required Lifespan/RIH “to conduct any research misconduct investigation in

 good faith, fairly, and in full compliance with the Policy and the Regulations.” Id. at ¶ 170.

                                           ARGUMENT

 I.     Federal Question Jurisdiction Exists as the Case Involves Disputed and Substantial
        Federal Issues.

        Ironically, the Defendants are now asserting that the case does not involve substantial

 issues of federal law. When Medici first filed his Complaint, the Defendants sought dismissal of

 the action on subject matter jurisdiction grounds, arguing that the case should be dismissed as,

 under the federal regulatory scheme, Medici first needed to exhaust his right to administrative

 review by the federal Department of Health and Human Services (“HHS”) before he could file

 suit. See Defendants’ Memorandum in Support of Motion to Dismiss (ECF No. 12), pp. 18-24.

 In doing so, the Defendants relied on Anversa v. Partners Healthcare Sys., Inc., 835 F.3d 167,

 175 (1st Cir. 2016). Id. at p. 18. As the Defendants argued, “Medici’s claims are based on

 allegations that defendants failed to comply with HHS regulations governing research

 misconduct investigations and with the RM Policy, which was issued pursuant thereto.” Id. The

 Defendants went on to argue that the court “lacks subject matter jurisdiction over claims for

 which Congress has allocated initial review of an administrative body” and that “[a] review of

 the language, structure, purpose, legislative history and opportunity for meaningful review of the

 research misconduct regulations establishes that Congress intended that HHS and [federal Office

 of Research Integrity] conduct the initial review of an institution’s finding of research

 misconduct.” Id. at p. 19.




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        While the U.S. District Court for the District of Massachusetts (Burroughs, J.) did not

 dismiss the matter, it did, based on this argument, stay the matter for months, finally lifting the

 stay after HHS/ORI indicated that it took “no position regarding this private litigation.” ECF No.

 35-2. The Court’s Memorandum of Decision (ECF No. 37), published at Medici v. Lifespan

 Corp., 239 F.Supp.3d 355 (D.Mass. 2017), held that, based on the Anversa decision, the case

 “should be stayed pending the outcome of the administrative review.” 239 F.Supp.3d at 365. In

 reaching its holding, the Court relied upon the federal statutory and regulatory scheme, which it

 discussed in great detail. Id. at 363-366.

        The Anversa case involved very similar allegations and claims. In it, two medical school

 professors brought suit against Harvard Medical School and related entities asserting claims of

 breach of contract, breach of the implied covenant of good faith and fair dealing, tortious

 interference, and violations of Massachusetts’s unfair trade practices and privacy laws. Anversa,

 835 F.3d at 173. The breach of contract claims were “based on a claim that the ORI regulations

 are incorporated into their employment contracts with those institutions.” Id. On the plaintiffs’

 appeal from the dismissal of the matter, the First Circuit held that the case should be stayed

 pending administrative review, not dismissed.

        The Anversa court addressed the federal jurisdiction issue on its own and, in doing so,

 held that federal question jurisdiction existed even though the case only involved state law

 claims between non-diverse parties. The Anversa court addressed the issue as follows:

            The parties have not contested the existence of Article III jurisdiction, and the
            district court did not consider that question. Nevertheless, we have an
            obligation to assure ourselves of our own jurisdiction. See Watchtower Bible
            & Tract Soc'y of N.Y., Inc. v. Colombani, 712 F.3d 6, 10 (1st Cir. 2013). In
            keeping with that obligation, we note that Article III jurisdiction exists in this
            case notwithstanding that the controversy is between non-diverse parties and
            asserts exclusively state-law claims. Federal question jurisdiction under 28
            U.S.C. § 1331 encompasses a narrow swath of cases in which “a state-law



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            claim necessarily raise[s] a stated federal issue, actually disputed and
            substantial, which a federal forum may entertain without disturbing any
            congressionally approved balance of federal and state judicial
            responsibilities.” Grable & Sons Metal Prods., Inc. v. Darue Eng'g & Mfg.,
            545 U.S. 308, 314, 125 S.Ct. 2363, 162 L.Ed.2d 257 (2005). Given that all of
            the plaintiffs' claims turn on the interpretation of the federal regulations
            governing research misconduct investigations and the importance of those
            regulations to the Congressional scheme, this case plainly falls within the
            narrow swath of cases described in Grable.

 Anversa, 835 F.3d at 174, n. 5 (Emphasis added). Later, the Anversa court observed that the

 district court’s eventual disposition would benefit from “any legal interpretations … made by

 ORI in the course of its review,” and noted that the plaintiffs’ claims “turn on the answers to

 embedded federal questions concerning the meaning and application of the very federal

 regulations that ORI exists to enforce.” Id. at 178 & n. 6.

        Like in Anversa, this case involves a breach of contract claim that asserts that the

 requirements of the federal regulations are incorporated into the contract. Like in Anversa, given

 that Medici’s claims “turn on the interpretation of the federal regulations governing research

 misconduct investigations …, this case plainly falls within the narrow swath of cases described

 in Grable.” Anversa, 835 F.3d at 174 n. 5.

        In seeking to distinguish Anversa, the Defendants misconstrue it, asserting that the issue

 in Anversa was a legal issue which required the court to consider the overall statutory structure.

 See Memorandum in Support of Motion to Dismiss (ECF No. 90), at p. 7. In doing so, the

 Defendants ignore the fact that the Court in this case, in ruling on the Defendants’ Motion to

 Dismiss at the beginning of the case, analyzed the federal statutory and regulatory scheme and

 based its decision on it. See Medici v. Lifespan Corp., 239 F.Supp.3d at 363-366. Morevoer, in

 making this argument, the Defendants ignore the fact that the Anversa court clearly based its

 holding that there was federal question jurisdiction on the fact that the plaintiffs’ claims “turn on




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 the interpretation of the federal regulations” and “on the answers to embedded federal questions

 concerning the meaning and application of the very federal regulations that ORI exists to

 enforce.” Anversa, 835 F.3d at 174 n. 5, 178 n. 6. Like the plaintiffs in Anversa, Medici is

 asserting that the requirements of the federal regulations were incorporated into his contract and,

 like in Anversa, the resolution of his claims will requires the interpretation of the federal

 regulations. Here, as discussed above, the Complaint contains detailed allegations as to the

 various instances the Defendants violated the mandates of the federal regulations and the policy

 that was mandated by the federal regulations.

        Other First Circuit cases also provide support for federal jurisdiction. See One & Ken

 Valley Hous. Grp. V. Maine State Hous. Auth., 716 F.3d 218, 224 (1st Cir. 2013) (holding that

 breach of contract dispute sufficiently arose under federal law because it involved a federal

 contractor’s implementation of a federal program and the plaintiff claimed that the defendant

 breached the contract by following a guideline promulgated by a federal agency pursuant to a

 federal statute); Rhode Island Fishermen’s All., Inc. v. Rhode Island Dep’t of Envt. Mgmt., 585

 F.3d 42, 52 (1st Cir 2009) (lobstermen could challenge in federal court a Rhode Island lobster

 trap allocation statute that made exercise of state agency authority dependent on federal law,

 requiring interpretation of federal law).

 II.    Even if the Court Concludes that, Aside from the Stored Communications Act
        Claim, there is No Jurisdiction, the Court Should Exercise its Discretion and
        Exercise Supplemental Jurisdiction Over the State Law Claims.

        The Defendants ignore the fact that, even if their argument is correct, dismissal would not

 be mandated and the Court would be free to exercise supplemental jurisdiction over the state law

 claims. This is because the Court clearly had original subject matter jurisdiction when Medici

 filed his Complaint, as he asserted a federal claim under the Stored Communications Act.




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        It is well settled that, when a federal court dismisses the only federal claim, it may still

 exercise “supplemental jurisdiction” over the remaining state law claims. Miller v. Town of

 Wenham Massachusetts, 833 F.3d 46, 56 (1st Cir. 2016). Subsection (c) of the supplemental

 jurisdiction statute, 28 U.S.C. § 1367, provides that the district court “may decline to exercise

 supplemental jurisdiction over a claim …. if … (3) the district court has dismissed all claims

 over which it has original jurisdiction.” When a court dismisses the only federal claim, it must

 “reassess its jurisdiction.” Camelio v. Am. Fed’n, 137 F.3d 666, 672 (1st Cir. 1998). “Whether a

 court should decline supplemental jurisdiction depends on a ‘a pragmatic and case-specific

 evaluation of a variety of considerations’ including ‘the interests of fairness, judicial economy,

 convenience, and comity.’” Desjardins v. Willard, 777 F.3d 43, 45-46 (1st Cir. 2015), quoting

 Camelio, 137 F.3d at 672.

        Here, these interests favor the Court continuing to exercise supplemental jurisdiction over

 the state law claims. This case has been pending since February 2016, discovery has been

 completed, and the summary judgment has been fully briefed. Dismissal would simply mandate

 that Medici refile the action. Given that he moved to Illinois in June 2018, Medici could refile

 the action in this very court, asserting diversity jurisdiction. If he were to do so within 30 days of

 dismissal, the claims would relate back to the date of the original complaint for statute of

 limitations purposes. See 28 U.S.C. § 1367(d). If the matter were refiled in state court, that court

 would have to gain familiarity with this very complex case involving a research misconduct

 proceeding mandated by federal regulations. Accordingly, if the Court decides that it does not

 have federal question jurisdiction, in the interests of fairness, judicial economy, convenience, and

 comity, it should exercise its discretion and continue exercising supplemental jurisdiction over

 the state law claims.




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         WHEREFORE, Medici requests that the Defendants’ Motion to Dismiss for Lack of

 Subject Matter Jurisdiction be DENIED.

                                                            Respectfully submitted,

                                                            The Plaintiff,

                                                            DAMIAN MEDICI,
                                                            By his attorney,

                                                            /s/ William T. Harrington
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 Dated: November 28, 2018


                                      CERTIFICATE OF SERVICE

          I hereby certify that this document(s) filed through the ECF system will be sent electronically to
 the registered participants as identified on the Notice of Electronic Filing and paper copies will be sent to
 those indicated as non-registered participants via first class mail, postage prepaid, on this date.


                                                            /s/ William T. Harrington




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